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                 IN THE UNITED STATES DISTRICT COURT

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                 FOR THE SOUTHERN DISTRICT OF GEORGIA                         I I -"! p;! t;.:08
                                                                    • { J 'ji.:




                            SAVANNAH DIVISION
                                                                                   I- tr oA.


THE UNITED STATES OF AMERICA,

                Plaintiff,

                 V.                               4:19CR66


STEVEN TEFT,

                Defendant.




                                 ORDER




     Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all
matters raised in the        parties' motions have been             resolved          by

agreement.     Therefore,    a   hearing     in    this      case    is           deemed

unnecessary.    All motions are dismissed.



     SO ORDERED, this            day of July, 2019.



                                                  L.   RAY
                                  UNITED STATES MAGISTRATE JUDGE
                                  SOUTHERN   DISTRICT OF GEORGIA
